Case 8:21-cv-00555-SDM-CPT Document 140-50 Filed 06/06/22 Page 1 of 3 PageID 11222




                             EXHIBIT 50
    Declaration of Ari Bargil in Support of Plaintiffs’ Motion for Summary Judgment
                  on Liability and Incorporated Memorandum of Law
    Case 8:21-cv-00555-SDM-CPT Document 140-50 Filed 06/06/22 Page 2 of 3 PageID 11223

From: sgreiner@pascosheriff.org
Sent: Monday, March 30, 2015 12:55 PM
To: RICHARD A JONES;SUhal@pascosheriff.org;ANDREW R
DENBO;KPhillips@pascosheriff.org;Christian J Chiavetta
CC: SHARON FOSHEY
Subject: Fw: Top-5 Updated
Attachments: All District Top-5 (27MAR15) (FINAL).pptm; All District Top-5 (27MAR15) (short).pptm



Greetings Richard and All:

When not on District Outcome, any effort you put into Star boxes should also attempt to focus on the top
5 identified as proooooolific offenders- so if you have a group, see attached, or part of the group in your
box, target them and make arrests when you can. Send a message. We are going to keep watching
you. If we can get them to stop criminal behavior, the goal is to get them to move away or go to prison
on new charges we discover, that's what we are looking for! Note that on your daily activity report to me if
its a catch off the top5 group. Keep using ILP and let me know if you need to bounce any ideas off me and
keep up the good work! Remember to try to split your efforts between the D.O. (like when Ace is off), and
Star boxes. There is plenty of work to go around and a target rich environment.


Sgt. Steve Greiner MA
Pasco Sheriff's Office
Law Enforcement Operations Bureau
District II
352-518-5013
727-277-7181
We Fight As One.

Confidentiality Notice: The information contained in this e-mail, including any attachments, is intended only for the recipient(s) and may
contain confidential and privileged information. Information should not be released to the media, the general public or over non-secure
Internet servers. Any unauthorized review, use, disclosure, or distribution is prohibited without prior approval of the sender. If you are not
the intended recipient, please contact the sender by reply e-mail and destroy all copies of the original messages. According to Statute 119,
Intelligence information is exempt from public records release.



-----Forwarded by Steven Greiner/PSO on 03/30/2015 12:43PM -----
To: Kenneth Gregory/PSO@PSO, James Mallo/PSO@PSO, Brett Landsberg/PSO@PSO, Sharon
Foshey/PSO@PSO, William Lawless/PSO@PSO, Michael Jones/PSO@PSO, Steven Greiner/PSO@PSO,
Jeffrey Peake/PSO@PSO
From: Anthony Gallo/PSO
Date: 03/27/2015 04:34PM
Cc: Shelley Gardner/PSO@PSO, Amy Parish/PSO@PSO, Melinda Werner/PSO@PSO, Ayralynne
Pazdur/PSO@PSO, Diane Lawson/PSO@PSO, Jennifer Hadfield/PSO@PSO
Subject: Top-5 Updated

ALCON,

Please find attached an updated copy of the Top-5. I've attached the short version which just shows the
Top-5 list and I also attached the longer version which includes their associates. Can you please push
this out to your teams?

Thanks,

(See attached file: All District Top-5 (27MAR15) (FINAL).pptm)
(See attached file: All District Top-5 (27MAR15) (short).pptm)


V/r,                                                                                          Exhibit 50 - Page 1 of 2
                                                                                                                          Defendant24425
   Case 8:21-cv-00555-SDM-CPT Document 140-50 Filed 06/06/22 Page 3 of 3 PageID 11224


Tony

ANTHONY "TONY" L. GALLO SR.
Intelligence Led Policing Manager
Pasco County Sheriff's Office
727-277-7232 (C)
727-816-1596 (W)
agallo@pascosheriff.org



This correspondence is from a law enforcement agency and may contain confidential, secret, classified and/or privileged communications.
Unauthorized use of this information may subject you to criminal and civil penalties. This document is the property of the Pasco County Sheriff's
Office and may not be disseminated without authorization. As such this document may be exempt from public record as defined in Florida State
Statute Chapter 119




                                                                                               Exhibit 50 - Page 2 of 2
                                                                                                                            Defendant24426
